Case 1:16-cv-02703-TWP-DML Document 14 Filed 12/08/16 Page 1 of 1 PageID #: 63




                         UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION


 TERRY LEE HONAKER,

 Plaintiff,
                                                No: 1:16-cv-02703-TWP-DML
 v.

 DIVERSIFIED CONSULTANTS, INC,                  Honorable Tanya Walton Pratt

 Defendant.                                         Magistrate Honorable
                                                    Debra McVicker Lynch



                                 NOTICE OF SETTLEMENT

        TO THE COURT:

        The Parties hereby submit this Notice of Settlement to inform the Court that the instant

proceeding has been settled and the Parties are in the process of executing the associated

documents. The Parties request 30 days in which to file the stipulated dismissal.


Dated: December 8, 2016                            Respectfully Submitted,


                                                   /s/ Daniel M. Spector
                                                   Daniel M. Spector
                                                   Counsel for Plaintiff
                                                   Consumer Law Partners, LLC
                                                   435 North Michigan Avenue, Suite 1609
                                                   Chicago, Illinois 60611
                                                   Phone (267) 422-1000
                                                   Fax: (267)422-2000
